                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:19-CV-00312-GCM
 WEST INVESTMENT FOREIGN
 SHARES, LLC,
 FIDUS INVESTMENT
 CORPORATION,

                  Plaintiffs,

     v.                                                                ORDER

 JOHN SHAW,
 MCCOLLUM BUSINESS, LLC,
 GROVE 1005, LLC,
 DANIEL A. MCCOLLUM,

                  Defendants.


          THIS MATTER comes before the Court on its own motion. In April of this year, the Court

stayed this action for 90 days (ECF No. 96). Following a status conference, the Court continued

the stay for an additional 90 days (ECF No. 98). The Court ordered the parties to file a status report

on or before October 18, 2021. The parties have done so, and the Court has reviewed the parties’

joint status report (ECF No. 99).

          Upon the representations of the parties and a thorough review of the matter, the Court

concludes that the current stay of all proceedings should continue for an additional 60 days.

Following the expiration of the 60 days, the Court will determine whether (1) briefing on the

pending motions should go forward; or (2) the stay should be lifted entirely. See ECF No. 65, 69,

74, 78, 80.

          The Court will direct the parties to file a status report no later than December 17, 2021. A

joint status report from all parties is preferred. If such a filing is not logistically feasible, the parties




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may file concise letter memoranda, not to exceed one single-spaced page, apprising the Court of

the status of the action. Based on the report(s), the Court may schedule another telephonic

conference as necessary.

       IT IS THEREFORE ORDERED that the stay shall CONTINUE until December 24,

2021. The parties are directed to FILE A STATUS REPORT on or before December 17, 2021.

       SO ORDERED.


                                        Signed: November 2, 2021




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